     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 1 of 11




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


TRAVIS TOBORG                     )
                                  )                 Civil Action No.
     Plaintiff,                   )
                                                    1:21-CV-04780-SDG-LTW
                                  )
v.                                )
                                  )
GEORGIA POWER COMPANY             )
                                  )                 JURY TRIAL DEMAND
     Defendant.                   )
__________________________________)


              COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW Plaintiff and respectfully states his claims as follows:

                              Preliminary Statement

                                         1.

      This action is brought seeking remedies under the provisions of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (hereafter “Title VII”).

                             Jurisdiction and Venue

                                         2.

      Jurisdiction of the claims in this Complaint is conferred by 42 U.S.C. §

1981. This case presents a federal question under 28 U.S.C. §§ 1331, 1343(a)(4).
     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 2 of 11




Plaintiff requests that this Court exercise pendant jurisdiction over his remaining

state law claims.

                                          3.

      Venue is proper in the United States District Court for the Northern District

of Georgia pursuant to 28 U.S.C. § 1391.

                                       Parties

                                          4.

      Plaintiff, Travis Toborg, is a resident of the Northern District of Georgia.

                                          5.

      At all times material hereto, Defendant Georgia Power Co. was and is a

domestic profit corporation authorized to do business in the State of Georgia with

its principal office located at 241 Ralph McGill Boulevard, Atlanta, Georgia

30308, which is within the Northern District of Georgia. Defendant may be served

by delivering a copy of the Complaint to its registered agent for service of process,

Kristi Dow, at 241 Ralph McGill Boulevard, Atlanta, Georgia 30308.




                                         -2-
     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 3 of 11




                          Facts Common to All Counts

                                         6.

      At all times relevant hereto, Plaintiff Travis Toborg was a white American

male employed by Defendant Georgia Power Co. on December 9, 2020 as a

troubleman and journeyman lineman.

                                         7.

      On or about July 23, 2020, Plaintiff called Defendant Georgia Power Co.’s

Human Resources Department in order to submit a complaint because of a

companywide email from the Diversity Inclusion Team that he believed was

discriminatory towards white employees. Sometime after this, a Georgia Power

chief executive officer (CEO) Paul Bowers initiated an investigation into

Plaintiff’s social media accounts.

                                         8.

      The email included a webinar instructing white employees on “Supporting

Black colleagues in their grief and healing process”, “Continuing your anti-racism

education”, and “Tips for talking to your white kids about race.”

                                         9.

      On December 9, 2020, Mr. Toborg was terminated for alleged social media

posts which were discovered shortly after his complaint to the Human Resources


                                        -3-
     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 4 of 11




Department. He was not warned that his posts would cause him to lose his job. It

was never alleged that his work was not acceptable. He was not given a chance to

take corrective action.

                                         10.

      Mr. Toborg was told via a letter from Defendant that his termination was

based on social media posts on July 20, August 27, September 10, 14, and 19 of

2020 that violated the Electronic Communications Acceptable Use Policy, the

Information Management Policy, and the Code of Ethics and Values.

                                         11.

      Prior to Plaintiff’s discharge, at least one other employee, specifically

Martin Layne, was cited for violations of policy regarding a social medial post. Mr.

Layne is an African-American male. He was not terminated, but instead received a

12-month probationary period.

                                         12.

      At all times relevant hereto, the other employee who was not terminated

after being charged with the same or substantially similar violation was an African-

American male. Furthermore, no African-American, Hispanic, Asian or other non-

white/Caucasian employees were instructed to talk with their children about

racism.


                                         -4-
       Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 5 of 11




                COUNT I - Title VII Claim: Racial Discrimination

                                           13.

       Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs as if each were fully set forth herein.

                                           14.

       At all times relevant hereto, Defendant was and is an “employer” as defined

in Title VII.

                                           15.

       At all times relevant hereto, Plaintiff was an “employee” as defined in Title

VII.

                                           16.

       Plaintiff was qualified for his position with Defendant.

                                           17.

       Plaintiff was subjected to retaliation and discrimination based upon his race.

                                           18.

       All jurisdictional prerequisites to the institution of a suit under Title VII

have been fulfilled as follows:




                                           -5-
     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 6 of 11




      a) Plaintiffs filed a timely written charge of discrimination with the United

         States Equal Employment Opportunity Commission. See EEOC

         confirmation of submission of claim attached hereto as “Exhibit A”.

      b) Plaintiffs received a “Notice of Right to Sue” from the EEOC which is

         attached hereto as “Exhibit B”; and

      c) The Complaint in this action was filed with the Court within 90 days

         from the receipt of the “Notice of Right to Sue.”

                                         19.

      Defendant maintained an employment policy, practice, and selection criteria

such that Caucasian employees are censored and received disparate retaliatory and

discriminatory treatment compared to their African-American’s counterparts.

                                         20.

      Defendant’s actions complained of above evidence a work discrimination

practice and caused Plaintiff’s loss of employment, causing him to incur expenses,

costs, and attorneys’ fees for which Defendant is liable.

                                         22.

      At all times relevant hereto, Plaintiff was engaged as a troubleman and

journeyman lineman and was working within the course and scope of his

employment.


                                         -6-
     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 7 of 11




                                        23.

      Plaintiff suffered adverse employment actions including termination when

he was discharged based on pretextual violation of company policy.

              COUNT II - Intentional Infliction of Emotional Distress

                                        24.

      Plaintiffs respectfully reincorporate the allegations contained in the above

paragraphs.

                                        25.

      Defendant’s conduct in terminating Plaintiff in violation of established and

known Federal law was illegal, extreme, and outrageous, sufficient to justify an

award of damages for intentional infliction of emotional distress.

      COUNT III - Wrongful Termination In Violation of Public Policy

                                        28.

      Plaintiffs respectfully reincorporate the allegations contained in the above

paragraphs.

                                        29.

      An employee-employer relationship existed between Plaintiff and

Defendant.




                                         -7-
     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 8 of 11




                                         30.

      Plaintiff Toborg was terminated from his job with Defendant.

                                         31.

      It is the public policy of the State of Georgia that companies not discriminate

because of race.

                                         32.

      Plaintiff’s termination violated said policy.

                                         33.

      Plaintiff’s termination caused him to suffer injury and damages.

              COUNT IV - Negligent Infliction of Emotional Distress

                                         34.

      Plaintiffs respectfully reincorporate the allegations contained in the above

paragraphs.

                                         35.

      Defendant knew or should have known that the discriminatory termination

would cause Plaintiff harm.




                                         36.


                                         -8-
     Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 9 of 11




      Defendant owed a duty to Plaintiff to prevent racial discrimination from

occurring on the job site.

                                         37.

      Defendant breached its duty to Plaintiffs.

                         COUNT III - Punitive Damages

                                         26.

      Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs.

                                         27.

      Defendant’s conduct in terminating Plaintiff because of his race was done

with “malice or with reckless indifference to the federally protected rights” of the

Plaintiff in violation of Civil Rights Act of 1991 (Pub.L. 102-166, codified as 42

U.S.C. § 1981a) sufficient to justify an award of punitive damages as contemplated

by said statute for claims brought under Title VII and 42 U.S.C. § 1981.

                                         38.

      As a direct and proximate cause of Defendant’s breach of duty, Plaintiff was

injured and suffered damages.

      WHEREFORE, Plaintiff respectfully prays for judgment against the

Defendant as follows:


                                         -9-
Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 10 of 11




 (a)   Defendant be permanently enjoined from discriminating against

       Plaintiff on any basis forbidden by Title VII;

 (b)   Defendant be ordered to compensate, reimburse, and make whole the

       Plaintiff for all the benefits, past and future, he would have received

       had it not been for Defendant’s illegal actions, including but not

       limited to back pay, benefits, bonuses, raises, and training, including

       all relief available under 29 U.S.C. § 1001 et seq. Plaintiff should be

       accorded these benefits which were illegally withheld from the date of

       his termination until the date he is tendered substantially equivalent

       employment, with interest on the above withheld amounts to the date

       of payment;

 (c)   An award of compensatory damages in an amount to be determined

       by the jury;

 (d)   An award of punitive damages to Plaintiff to deter future wrongdoing

       by the Defendant;

 (e)   That Plaintiff recover his reasonable attorneys’ fees including

       litigation expenses and costs;

 (f)   That Plaintiff recover pre-judgment interest; and

 (g)   Such other relief as the Court deems proper and just.


                                  -10-
   Case 1:21-cv-04780-SDG-LTW Document 1 Filed 11/18/21 Page 11 of 11




                                  Jury Demand

     Plaintiff demands trial by jury of twelve persons for all issues in this action.

     This 18th day of November 2011.

                                               Respectfully submitted,



                                               /s/Jacob A. Weldon
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